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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


 GABRIELLE R. CHAPIN,
                                                         CIVIL ACTION NO. 4:18-cv-00996-AHB
            Plaintiff,

 v.

 CREDIT CONTROL SERVICES, INC. d/b/a
 THE CCS COMPANIES d/b/a CCS,

            Defendant.


  AGREED MOTION TO CONTINUE TRIAL DEADLINES PENDING A RULING ON
           DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

        Plaintiff, Gabrielle R. Chapin (“Plaintiff”) and Defendant, Credit Control Services, Inc.

d/b/a Credit Collection Services (“CCS”), through their undersigned counsel, jointly move the

Court to continue the January 20, 2020 deadline to submit a joint pretrial order, docket call date of

January 24, 2020, and the proposed trial date of January 27, 2020, in the above-styled matter.

        The trial deadlines are set forth in the Court’s Order Extending Deadlines (Doc. No. 36),

entered on November 18, 2019. Pursuant to the procedures outlined in Judge Bennett’s Court

Procedures, the parties state as follows in support of their agreed motion:

        The parties are awaiting disposition of CCS’ motion for summary judgment (“Motion”).

In consideration of judicial resources and expenses the parties would incur associated with trial

preparation, the parties respectfully request the Court to set the docket call date 30 days following

a ruling on the Motion.

        Neither party would be prejudiced by a continuance of the joint pretrial order date, docket

call and trial date in this matter, and the parties respectfully request that the Court grant their agreed

motion.


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